                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


SAMANTHA SIVA KUMARAN,                                   )
NEFERTITI RISK CAPITAL MANAGEMENT, LLC,                  )        Case No. 1:20-cv-03871-
NEFERTITI ASSET MANAGEMENT, LLC,                         )        GHW-SDA
NEFERTITI HOLDING CORPORATION                            )
                                                         )
                               Plaintiffs,               )        Related Case: 1:20:CV 03668
                                                         )        Related Case: 1:20:CV 03873
              vs.                                        )
                                                         )
VISION FINANCIAL MARKETS, LLC,                           )        September 13, 2021
HOWARD ROTHMAN,                                          )
ROBERT BOSHNACK,                                         )
HIGH RIDGE HOLDING CORPORATION, LLC,                     )
HIGH RIDGE FUTURES, LLC,                                 )
H ROTHMAN FAMILY, LLC,                                   )
BOSHNACK FAMILY, LLC,                                    )
VISION BROKERAGE SERVICES, LLC,                          )
JOHN FELAG,                                              )
VISION INVESTMENT ADVISORS, LLC,                         )
LAZZARA CONSULTING, INC.,                                )
GERARD STEPHEN LAZZARA,                                  )
JULIE VILLA                                              )
                           Defendants.                   )
____________________________________________             )


               CONSENT MOTION TO MODIFY PAGE LIMITATIONS
             FOR RESPONSE TO THE SECOND AMENDED COMPLAINT

       Defendants Vision Financial Markets LLC, Vision Investment Advisors, LLC, Vision

Brokerage Services, LLC, H. Rothman Family LLC, Boshnack Family LLC, High Ridge

Holding Company, LLC, High Ridge Futures LLC, Lazzara Consulting Inc., Howard Rothman,

Robert Boshnack, John Felag, and Gerard Stephen Lazzara (collectively, “Moving

Defendants”),1 by and through their undersigned counsel, hereby respectfully move for an order


1
 The Second Amended Complaint also names as a Defendant Julie Villa, who is not represented
by undersigned counsel.
                                          1
of this Court modifying page limits so that the Moving Defendants may submit an omnibus

memorandum of law totaling 40 pages in support of their intended motion in response to the

Second Amended Complaint (ECF No. 89).

       The Second Amended Complaint asserts 20 different causes of action over 202 pages and

1015 numbered paragraphs against the 12 Moving Defendants. The Moving Defendants seek an

additional 15 pages of briefing for their omnibus memorandum of law in order to respond

efficiently and adequately to the claims against them. The Court previously granted the Moving

Defendants a 15-page extension for their omnibus memorandum of law in response to the First

Amended Complaint in this action, which was shorter and contained fewer counts than the

present Second Amended Complaint. (See ECF Nos. 29, 30).

       Defendants’ undersigned counsel has contacted the individual and entity Plaintiffs

regarding this motion to modify page limitations and they have consented to the modification.

                                                   Respectfully submitted,

                                                   WIGGIN AND DANA LLP

                                                     /s/ Jenny R. Chou
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                                                   Attorneys for Vision Financial Markets LLC,
                                                   Vision Investment Advisors, LLC, Vision
                                                   Brokerage Services, LLC, H. Rothman
                                                   Family LLC, Boshnack Family LLC, High
                                                   Ridge Holding Company, LLC, High Ridge
                                                   Futures LLC, Lazzara Consulting Inc.,
                                                   Howard Rothman, Robert Boshnack, John
                                                   Felag, and Gerard Stephen Lazzara

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